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6 UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA
7
8 Jysan Holding, LLC, et al ) Case # 2:23-cv-00247-JAD-VCF
> > 7 )
9 )
) VERIFIED PETITION FOR
10 Plaintiff(s), ) PERMISSION TO PRACTICE
) IN THIS CASE ONLY BY
11 vs. ) ATTORNEY NOT ADMITTED
lic of khstan. et al. ) TO THE BAR OF THIS COURT
sage PUNE Of Kacaanean ee ) AND DESIGNATION OF
) LOCAL COUNSEL
13 )
Defendant(s). )
14 ) FILING FEE IS $250.00
15 [ECF No. 7]
16 Michael J. Gottlieb , Petitioner, respectfully represents to the Court:
(name of petitioner)
17
l. That Petitioner is an attorney at law and a member of the law firm of
18 Willkie Farr & Gallagher LLP
19 (firm name)
20 with offices at 1875 K Street, N.W. ,
(street address)
21 . i. .
Washington , District of Columbia [-] , 20006-1238
22 (city) (state) a (zip code)
23 (202) 303-1442 . MGottlieb@willkie.com
(area code + telephone number) (Email address)
24
2. That Petitioner has been retained personally or as a member of the law firm by
25 . .
Jysan Holding, LLC to provide legal representation in connection with
26 {client(s)]
27|| the above-entitled case now pending before this Court.

 

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I 3. That since 08/23/2006 , Petitioner has been and presently is a
(date)
member in good standing of the bar of the highest Court of the State of New York
(state)
where Petitioner regularly practices law. Petitioner shall attach a certificate from the state bar or

 

from the clerk of the supreme court or highest admitting court of each state, territory, or insular

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5} possession of the United States in which the applicant has been admitted to practice law certifying
6 |} the applicant's membership therein is in good standing.
7 4, That Petitioner was admitted to practice before the following United States District
8} Courts, United States Circuit Courts of Appeal, the Supreme Court of the United States and Courts
9}| of other States on the dates indicated for each, and that Petitioner is presently a member in good
10]| standing of the bars of said Courts.
11 Court Date Admitted Bar Number

12 See Exhibit A
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5. That there are or have been no disciplinary proceedings instituted against petitioner,
nor any suspension of any license, certificate or privilege to appear before any judicial, regulatory
or administrative body, or any resignation or termination in order to avoid disciplinary or

disbarment proceedings, except as described in detail below:

 

 

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oN DO UN Fe We Ne —|& OD OO NN Dn F&F WY NYO &§ OC

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6. That Petitioner has never been denied admission to the State Bar of Nevada. (Give

particulars if ever denied admission):

 

one

 

 

7. That Petitioner is a member of good standing in the following Bar Associations.

 

istrict of Columbia Bar Association, New York State Bar Association, California Bar Associatio

8. Petitioner has filed application(s) to appear as counsel under Local Rule IA 11-2

(formerly LR 1A 10-2) during the past three (3) years in the following matters: (State “none” if no applications.)

 

 

 

Date of Application Cause Title of Court Was Application
Administrative Body Granted or
or Arbitrator Denied
None

 

 

 

 

El

(If necessary, please attach a statement of additional applications)
9. Petitioner consents to the jurisdiction of the courts and disciplinary boards of the
State of Nevada with respect to the law of this state governing the conduct of attorneys to the same
extent as a member of the State Bar of Nevada.
10. Petitioner agrees to comply with the standards of professional conduct required of
the members of the bar of this court.
11. Petitioner has disclosed in writing to the client that the applicant is not admitted to

practice in this jurisdiction and that the client has consented to such representation.

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That Petitioner respectfully prays that Petitioner be admitted to practice before this Court

FOR THE PURPOSES OF THIS CASE LALLA

Petitiorer’s aan
STATE OF District of Columb{=]

COUNTY OF )

Michael J. Gottlieb , Petitioner, being fjrst duly sworn, deposes and says:

That the foregoing statements are true.

 

 

Petitioner’s signature
Subscribed and sworn to before me this

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/ (8) Of individual(s)

Gn Me

 

 

(AO. %, Notary Public or Clerk of Court Py: nN
Cie he 4 rH
 % i Office
Sol Pog My commission expires:
a sé DESIGNATION OF RESIDENT ATTORNEY ADMITTED TO =
et SO THE BAR OF THIS COURT AND CONSENT THERETO.
Cok"

pa Pursuant to the requirements of the Local Rules of Practice for this Court, the Petitioner
believes it to be in the best interests of the client(s) to designate J. Stephen Peek
(name of local counsel)
Attorney at Law, member of the State of Nevada and previously admitted to practice before the
above-entitled Court as associate resident counsel in this action. The address and email address of

said designated Nevada counsel is:

 

 

 

9555 Hillwood Drive, 2nd Floor ;
(street address)
Las Vegas , Nevada [= 89134,
(city) (state) (zip code)
(702) 222-2544 , Speek@hollandhart.com
(area code + telephone number) (Email address)

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By this designation the petitioner and undersigned party(ies) agree that this designation constitutes
agreement and authorization for the designated resident admitted counsel to sign stipulations

binding on all of us.

APPOINTMENT OF DESIGNATED RESIDENT NEVADA COUNSEL

The undersigned party(ies) appoint(s) J. Stephen Peek as
(name of local counsel)

his/her/their Designated Resident Nevada Counsel in this case.

/s/ M. Ron Wahid
(party's signature)

Jysan Holding, LLC - Managing Member
(type or print party name, title)

 

(party's signature)

 

(type or print party name, title)

CONSENT OF DESIGNEE
The undersigned hereby consents to serve as associate resident Nevada counsel in this case.

/s/ J. Stephen Peek ‘
Designated Resident Nevada Counsel’s signature

1758 speek@hollandhart.com
Bar number Email address

APPROVED:
Dated: this 23rd day of _ February , 2023.

 

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